        Case 2:21-cr-00170-GJP Document 88 Filed 11/04/21 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                              CRIMINAL ACTION
                                                      NO. 21-170
       v.

MOSHE PORAT


                                     ORDER

      AND NOW, this 4th day of November, 2021, after considering Defendant’s

Motion in Limine to Exclude Evidence Regarding Personal Financial Status (ECF No.

58), the Government’s Response (ECF No. 62) and oral argument on the Motion (ECF

No. 85) it is ORDERED that the Motion is GRANTED in part and DENIED in part

for the reasons set forth in the accompanying Memorandum.



                                            BY THE COURT:



                                            /s/ Gerald J. Pappert
                                            GERALD J. PAPPERT, J.
